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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No.20-cr-224-RBJ

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. KOLE DOUGLAS MILNER,

       Defendant.


                                       INFORMATION


The United States Attorney charges:
                                         COUNT 1

       On or about September 11, 2019, in the State and District of Colorado, the

defendant, KOLE DOUGLAS MILNER, did knowingly and intentionally possess with intent

to distribute psilocybin, a Schedule I controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

                               FORFEITURE ALLEGATION

       1.      The allegations contained in Count 1 of this Information are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant to

the provisions of Title 21, United States Code, Section 853, and Title 28, United States

Code, Section 2461(c).

       2.      Upon conviction of the violation described in Count 1, alleging a violation of

Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C), the defendant, KOLE


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DOUGLAS MILNER, shall forfeit to the United States, pursuant to Title 21, United States

Code, Section 853, any and all of the defendant’s right, title and interest in all property

constituting and derived from any proceeds obtained directly and indirectly as a result of

such offense, and in all property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of such offense, including but not limited to: a

money judgment in the amount of the proceeds obtained by the defendant.

       3.     If any of the property described in paragraph 2 above, as a result of any act

or omission of the defendant:

              a)     cannot be located upon the exercise of due diligence;

              b)     has been transferred or sold to, or deposited with, a third
                     party;

              c)     has been placed beyond the jurisdiction of the Court;

              d)     has been substantially diminished in value; or

              e)     has been commingled with other property which
                     cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section



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853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

forfeiture of any other property of said defendant up to the value of the forfeitable property.

                                           JASON R. DUNN
                                           United States Attorney


                                           s/ Conor A. Flanigan
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